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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 23-20073-CIV-ALTONAGA/Damian

  FLORAL LOGISTICS OF MIAMI, INC.
  a Florida Profit Corporation,

          Plaintiff/Counter-Defendant


  vs.

  NEW YORK GARDEN FLOWER
  WHOLESALE, INC., a New York
  Profit Corporation, and DHAN
  PAIH, an individual,

          Defendants/Counter-Plaintiff.
                                                /

                  PLAINTIFF’S ANSWER AND AFFIRMATIVE DEFENSES
                  TO DEFENDANTS’ THIRD AMENDED COUNTERCLAIM

          COMES NOW, Counter-Defendant, FLORAL LOGISTICS OF MIAMI, INC. (“Floral

  Logistics” or “Counter-Defendant”), by and through undersigned counsel, hereby files its Answer

  and Affirmative Defenses to the Third Amended Counterclaim (“Counterclaim”) filed by Counter-

  Plaintiff, NEW YORK GARDEN FLOWER WHOLESALE, INC. (“NY GARDEN” or “Counter-

  Plaintiff”), as follows:

                               PARTIES, JURISDICTION & VENUE

          1.      Denied, as phrased.

          2.      Counter-Defendant admits that Counter-Plaintiff alleges that damages are in excess

  of $75,000.00, exclusive of interest, costs, and attorney’s fees, but denies that Counter-Plaintiff is

  entitled to such relief and the remainder of the allegations contained in Paragraph 2.

          3.      Admitted.



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                       FIRST CAUSE OF ACTION: BREACH OF AGREEMENT

        4.     Counter-Defendant is without sufficient information and knowledge to admit or

        deny the allegations set forth in Paragraph 4, and therefore, denies same.

        5.     Counter-Defendant is without sufficient information and knowledge to admit or

        deny the allegations set forth in Paragraph 5, and therefore, denies same.

        6.     Counter-Defendant is without sufficient information and knowledge to admit or

        deny the allegations set forth in Paragraph 6, and therefore, denies same.

        7.     Counter-Defendant is without sufficient information and knowledge to admit or

        deny the allegations set forth in Paragraph 7, and therefore, denies same.

        8.     Denied, as phrased.

        9.     Denied, as phrased.

        10.    Denied.

        11.    Denied.

        12.    Denied.

        13.    Counter-Defendant is without sufficient information and knowledge to admit or

        deny the allegations set forth in Paragraph 13 as they relate to what Counter-Plaintiff

        observed when “the boxes were opened,” and therefore, denies same.

        14.    Denied.

        15.    Denied.

        16.    Denied.

        17.    Denied.

              SECOND CAUSE OF ACTION: (ALTERNATIVE PLEADING:
                                  NEGLIGENT DELIVERY)
        18.    The Court dismissed Count II with prejudice on or about August 18, 2023, and



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        therefore, Counter-Defendant does not respond to the allegations contained therein.

        19.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        20.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        21.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        22.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        23.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        24.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        25.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        26.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        27.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        28.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        29.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.




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        30.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        31.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        32.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        33.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        34.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        35.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        36.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        37.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        38.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        39.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        40.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        41.    The Court dismissed Count II with prejudice on or about August 18, 2023, and




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        therefore, Counter-Defendant does not respond to the allegations contained therein.

        42.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        43.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        44.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        45.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        46.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        47.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        48.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

        49.    The Court dismissed Count II with prejudice on or about August 18, 2023, and

        therefore, Counter-Defendant does not respond to the allegations contained therein.

               THIRD CAUSE OF ACTION: (ALTERNATIVE PLEADING:
                           PROMISSORY ESTOPPEL)

        50.    Denied.

        51.    Denied, as phrased.

        52.    Denied, as phrased.

        53.    Denied, as phrased.

        54.    Denied, as phrased.


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         55.     Denied, as phrased.

         56.     Denied, as phrased.

         57.     Denied, as phrased.

         58.     Denied.

         59.     Counter-Defendant is without sufficient information and knowledge to admit or

  deny the allegations set forth in Paragraph 59, and therefore, denies same.

         60.     Denied.

         61.     Counter-Defendant is without sufficient information and knowledge to admit or

  deny the allegations set forth in Paragraph 61, and therefore, denies same.

         62.     Counter-Defendant is without sufficient information and knowledge to admit or

  deny the allegations set forth in Paragraph 62 as they relate to what Counter-Plaintiff observed

  when “the boxes were opened,” and therefore, denies same.

         63.     Denied.

                                       PRAYER FOR RELIEF

         WHEREFORE, Counter-Defendant further denies the entirety of Counter-Plaintiff’s

  WHEREFORE clause and that Counter-Plaintiff is entitled to any of the relief requested therein.

                                       AFFIRMATIVE DEFENSES

         I. First Affirmative Defense – Unclean Hands

         Counter-Defendant asserts that Counter-Plaintiff has unclean hands in this matter. To assert

  an unclean hands defense, a defendant must show that the plaintiff’s wrongdoing is directly related

  to the claim and that the defendant was personally injured by the wrongdoing. Bailey v. Titlemax

  of Ga., Inc., 776 F.3d 797, 801 (11th Cir. 2015) (citing Calloway v. Partners Nat’l Health Plans,

  986 F.2d 446, 450-451 (11th Cir. 1993). Here, it is clear that the Counter-Plaintiff’s wrongdoing




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  was related directly to the claim at hand, breaching the contract with the Counter-Defendant

  initially by neglecting to pay the $181,649.46 they owed, representing the reasonable value of the

  Services delivered. Further, Counter-Defendant was injured personally by the wrongdoing,

  suffering damages represented by the aforementioned amount due by the Counter-Plaintiff which

  constitutes a material breach of the contract between the parties. Thus, the acts committed by the

  Counter-Plaintiff bar the demand for judgment made by Counter-Plaintiff based on the defense of

  unclean hands as asserted.

          II. Second Affirmative Defense – Waiver

          Counter-Defendant asserts the defense of waiver against the Counter-Plaintiff. Waiver is

  the intentional relinquishment or abandonment of a known right or privilege. United States v.

  Harris, 798 Fed. Appx. 519, 524 (11th Cir. 2020). In this matter, the Counter-Plaintiff waived

  potential claims against the Counter-Defendant by accepting the flowers upon delivery without

  rejection. Additionally, Counter-Plaintiff accepted the flowers without submitting any applicable

  claims. As such, Counter-Plaintiff waived any claims against Counter-Defendant, and Counter-

  Plaintiff’s demand for judgment is therefore barred.

          III. Third Affirmative Defense – Failure to State a Proper Claim

          Counter-Defendant asserts the defense of estoppel against the Counter-Plaintiff. Dismissal

  for failure to state a proper claim is warranted where the facts alleged do not state a claim for relief

  that is plausible on its face. Diaz v. Miami Dade Cmty. Coll., No. 19-23432-CIV, 2019 U.S. Dist.

  LEXIS 172150 (S.D. Fla. Oct. 2, 2019) (citing Ashcroft v. Iqbal, 556 U.S. 662, 679, 129 S. Ct.

  1937, 173 L. Ed. 2d 868 (2009). Here, Counter-Plaintiff failed to file a proper claim as allowed

  under the parties’ contract and course of dealing, having engaged in voluntary conduct through

  acceptance of the flowers and not filing a claim thereafter, precluding them both at law and in




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  equity from asserting rights that could have previously existed, with Counter-Defendant relying

  on their voluntary conduct. Thus, Counter-Plaintiff’s demand for judgment is barred because of

  their failure to state a proper claim.

          IV. Fourth Affirmative Defense – Unavoidable Accident

          Counter-Defendant asserts the defense of unavoidable accident against the Counter-

  Plaintiff. An accident is unavoidable if the accident would have happened regardless of what the

  defendant did. Fischer v. S/Y Neraida, 508 F.3d 586, 596 (11th Cir. 2007). Here, harm to the

  flowers would have occurred regardless of the actions conducted by the Counter-Defendant, as the

  airline engaged in the transportation of the flowers independently, serving as a superseding cause

  rather than any action or lack thereof by Counter-Defendant. Thus, any harm caused to the flowers

  in this matter would be the result of an unavoidable accident, barring Counter-Plaintiff’s demand

  for judgment.

          V. Fifth Affirmative Defense – Laches

          Counter-Defendant asserts the defense of laches against the Counter-Plaintiff. To establish

  laches, a party must show a delay in asserting a right or a claim, that the delay was not excusable,

  and that the delay caused undue prejudice. Citibank, N.A. v. Citibanc Grp., Inc., 724 F.2d 1540,

  1546 (11th Cir. 1984) (citing Environmental Defense Fund, Inc. v. Alexander, 614 F.2d 474, 478

  (5th Cir. 1980). Counter-Plaintiff undoubtedly delayed in asserting a claim, as they failed to file a

  claim pursuant to the applicable claim procedures and did not initially reject the flowers. Counter-

  Defendant reasonably relied upon Counter-Plaintiff’s voluntary acceptance of the flowers, and

  Counter-Plaintiff’s delay in filling the claim and failure to abide by the procedures in place have

  caused undue prejudice to the Counter-Defendant through expenditure of significant resources and

  such in this matter. Thus, Counter-Plaintiff’s demand for judgment is barred because of the laches




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  defense.

          VI. Sixth Affirmative Defense – First to Breach

          Counter-Defendant asserts the defense of prior breach against the Counter-Plaintiff. Prior

  material breach of a contract excuses further performance by the other party, with the other party

  being released from any obligation to perform upon the contract as such. Managed Care Sols. v.

  Cmty. Health Sys., No. 10-60170-CIV-MORE, 2012 U.S. Dist. LEXIS 195410 (S.D. Fla. May 14,

  2012) (citing Miller v. Reinhart, 548 So. 2d 1174, 1175 (Fla. 4th DCA 1989)). Here, the Counter-

  Plaintiff breached the contract initially, failing to pay the amount due for the delivery of the flowers

  which they voluntarily accepted and failed to reject or file a claim pursuant to the applicable

  procedures. Hence, this prior breach would release the Counter-Defendant from any obligation to

  perform upon the contract following said breach in the event that the Counter-Defendant breached

  at all. Therefore, Counter-Plaintiff’s demand for judgment is barred due to their prior breach.

          VII. Seventh Affirmative Defense – Failure to Submit Claim

          Counter-Plaintiff’s claims are barred because it failed to follow the required claim process.

  Counter-Plaintiff was required to follow a specific claim process for any deficiencies with goods

  transported by Counter-Defendant. However, Counter-Plaintiff failed to do so. Thus, Counter-

  Plaintiff is barred from asserting its causes of action against Counter-Defendant.

          VIII. Eighth Affirmative Defense – Setoff

          Counter-Plaintiff’s alleged damages must be set off by any money it owes to Counter-

  Defendant for services it performed. More specifically, Counter-Plaintiff currently owes Counter-

  Defendant approximately $181,649.46, which must be set off by Counter-Plaintiff’s alleged

  damages.

          IX. Nineth Affirmative Defense – Failure to Join Indispensable Parties




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          Counter-Plaintiff’s claims are barred on the grounds of failure to joint indispensable

   parties. Indispensable parties such as Anthony’s Trucking have an interest in Counter-Plaintiff’s

   claims of such a nature that a final judgment could not be rendered without affecting its interests

   and/or would leave this controversy in such a condition that its final termination would be wholly

   inconsistent with equity and good conscience.

                                           PRAYER FOR RELIEF

          WHEREFORE, the Court should enter judgment in favor of Plaintiff and award its

   reasonable attorney’s fees and costs as may be available under Federal law and statutes, and such

   other relief as the Court deems just and proper.

   Dated: August 28, 2023                                  AINSWORTH + CLANCY, PLLC


                                                           801 Brickell Ave., 8th Floor
                                                           Miami, Florida 33131
                                                           Telephone: 305-600-3816
                                                           Facsimile: 305-600-3817
                                                           Counsel for Plaintiff / Counter-Defendant

                                                           By: /s/ Ryan Clancy
                                                           Ryan Clancy, Esq.
                                                           Florida Bar No.: 117650
                                                           Email: ryan@business-esq.com
                                                           Email: info@business-esq.com

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 28, 2023 a true and correct copy of the foregoing

   was electronically filed with the Clerk of Court using CM/ECF.

                                                           By: /s Ryan Clancy
                                                           Ryan Clancy, Esq.




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